  Case 4:17-mj-00124-BJ Document 5 Filed 02/09/17                Page 1 of 8 PageID 4


                              U.S. District Court
                    Northern District of Texas (Fort Worth)
             CRIMINAL DOCKET FOR CASE #: 4:17−mj−00124−BJ−1

Case title: USA v. Anderson                                 Date Filed: 02/08/2017
Other court case number: 7:11CR00225−005 Western District
                          of Texas/Midland

Assigned to: Magistrate Judge
Jeffrey L. Cureton

Defendant (1)
Justin Anderson                     represented by Taylor Wills Edwards Brown−FPD
                                                   Federal Public Defender
                                                   Northern District of Texas
                                                   PO Box 17743
                                                   Fort Worth, TX 76102
                                                   817−978−2753
                                                   Fax: 817−978−2757
                                                   Email: Taylor_W_Brown@fd.org
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Federal Public Defender Appointment
                                                   Bar Status: Admitted/In Good Standing

Pending Counts                                     Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                                  Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                         Disposition
18:3583 Violation of Supervised
Release



                                                                                                      1
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Plaintiff
USA                                         represented by Shawn Smith−DOJ
                                                           US Attorney's Office
                                                           801 Cherry St
                                                           Burnett Plaza Suite 1700 Unit #4
                                                           Fort Worth, TX 76102−6882
                                                           817/252−5200
                                                           Fax: 817−252−5455
                                                           Email: shawn.smith2@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney
                                                           Bar Status: Admitted/In Good Standing

 Date Filed       #       Page      Docket Text
 02/08/2017                      3 Arrest (Rule 32) of Justin Anderson. Case Number
                                   7:11CR00225−005 Petition and Warrant from Western District of
                                   Texas/Midland. (jah) (Entered: 02/09/2017)
 02/08/2017           1          4 ELECTRONIC Minute Entry for proceedings held before
                                   Magistrate Judge Jeffrey L. Cureton: Initial Appearance re rule
                                   32.1 Revocation of Supervised Release as to Justin Anderson held
                                   on 2/8/2017. Deft arrested 2/8/17 on arrest warrant executing the
                                   arrest of a supervised release violator from the Western District of
                                   Texas, Midland Division; Deft executed financial affidavit;
                                   O/appointing FPD entered; Deft waives Rule 32.1 hearing as to
                                   identity and preliminary hearing; O/commitment to charging
                                   district entered; Deft remanded to custody and ordered removed to
                                   originating district. Attorney Appearances: AUSA − Shawn
                                   Smith; Defense − T.W. Brown. (Court Reporter: Digital File) (No
                                   exhibits) Time in Court − :02. (jah) (Entered: 02/09/2017)
 02/08/2017           2          6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to
                                   Justin Anderson. (Ordered by Magistrate Judge Jeffrey L. Cureton
                                   on 2/8/2017) (jah) (Entered: 02/09/2017)
 02/08/2017           3          7 WAIVER of Rule 32.1 Hearings by Justin Anderson re: identity
                                   (jah) (Entered: 02/09/2017)
 02/08/2017           4          8 Report of Proceedings under Rule 32.1 and Order Entered
                                   Thereon as to Justin Anderson. Defendant is removed forthwith to
                                   the district in which he is charged. Paperwork sent to Western
                                   District of Texas/Midland. (Ordered by Magistrate Judge Jeffrey
                                   L. Cureton on 2/8/2017) (jah) (Entered: 02/09/2017)




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   Case 4:17-mj-00124-BJ Document 5 Filed 02/09/17 Page 3 of 8 PageID 6

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Shawn Smith−DOJ (caseview.ecf@usdoj.gov, colleen.plowman@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, shawn.smith2@usdoj.gov, usatxn.ecfcriminal@usdoj.gov), Magistrate
Judge Jeffrey L. Cureton (kristi_verna@txnd.uscourts.gov,
margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov), U.S.
Marshals Office (usms−txn−courtdocket@usdoj.gov)
−−No Notice Sent:

Message−Id:9794262@txnd.uscourts.gov
Subject:Activity in Case 4:17−mj−00124−BJ USA v. Anderson Arrest − Rule 5/32/40
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Unless exempted, attorneys who are
not admitted to practice in the Northern District of Texas must seek admission promptly. Forms and
Instructions found at www.txnd.uscourts.gov. If admission requirements are not satisfied within 21
days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 2/9/2017 at 4:24 PM CST and filed on 2/8/2017

Case Name:       USA v. Anderson
Case Number:     4:17−mj−00124−BJ
Filer:
Document Number: No document attached
Docket Text:
 Arrest (Rule 32) of Justin Anderson. Case Number 7:11CR00225−005 Petition and Warrant
from Western District of Texas/Midland. (jah)


4:17−mj−00124−BJ−1 Notice has been electronically mailed to:

Shawn Smith−DOJ shawn.smith2@usdoj.gov, CaseView.ECF@usdoj.gov, Cynthia.Hood@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Michelle.Thom@usdoj.gov, colleen.plowman@usdoj.gov,
deborah.burson@usdoj.gov, usatxn.ecfcriminal@usdoj.gov

4:17−mj−00124−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will serve notice of court Orders and Judgments by mail as required by the
federal rules. An attorney/pro se litigant is cautioned to carefully follow the federal rules (see FedRCivP
5) with regard to service of any document the attorney/pro se litigant has filed with the court. The
clerk's office will not serve paper documents on behalf of an attorney/pro se litigant.



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   Case 4:17-mj-00124-BJ Document 5 Filed 02/09/17 Page 4 of 8 PageID 7

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Shawn Smith−DOJ (caseview.ecf@usdoj.gov, colleen.plowman@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, shawn.smith2@usdoj.gov, usatxn.ecfcriminal@usdoj.gov), Taylor
Wills Edwards Brown−FPD (belinda_sandoval@fd.org, norma_field@fd.org,
patricia_tovar@fd.org, taylor_w_brown@fd.org), Magistrate Judge Jeffrey L. Cureton
(kristi_verna@txnd.uscourts.gov, margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov)
−−No Notice Sent:

Message−Id:9794276@txnd.uscourts.gov
Subject:Activity in Case 4:17−mj−00124−BJ USA v. Anderson Initial Appearance − Revocation
Proceedings
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
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                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 2/9/2017 at 4:27 PM CST and filed on 2/8/2017

Case Name:       USA v. Anderson
Case Number:     4:17−mj−00124−BJ
Filer:
Document Number: 1(No document attached)
Docket Text:
 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge Jeffrey L.
Cureton: Initial Appearance re rule 32.1 Revocation of Supervised Release as to Justin
Anderson held on 2/8/2017. Deft arrested 2/8/17 on arrest warrant executing the arrest of a
supervised release violator from the Western District of Texas, Midland Division; Deft
executed financial affidavit; O/appointing FPD entered; Deft waives Rule 32.1 hearing as to
identity and preliminary hearing; O/commitment to charging district entered; Deft remanded
to custody and ordered removed to originating district. Attorney Appearances: AUSA −
Shawn Smith; Defense − T.W. Brown. (Court Reporter: Digital File) (No exhibits) Time in
Court − :02. (jah)


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deborah.burson@usdoj.gov, usatxn.ecfcriminal@usdoj.gov
                                                                                                        4
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   Case 4:17-mj-00124-BJ Document 5 Filed 02/09/17 Page 5 of 8 PageID 8


Taylor Wills Edwards Brown−FPD Taylor_W_Brown@fd.org, belinda_sandoval@fd.org,
norma_field@fd.org, patricia_tovar@fd.org

4:17−mj−00124−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will serve notice of court Orders and Judgments by mail as required by the
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Case 4:17-mj-00124-BJ Document 5 Filed 02/09/17 Page 8 of 8 PageID 11




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